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                  IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,

              Plaintiff,                          Case No. CR-08-207-S-BLW

       v.                                         ORDER CONTINUING
                                                  TRIAL AND TRIAL
 SEFERINO ALVARADO-ROJAS,                         READINESS CONFERENCE
 ANTONIO CARRERA, MIRNA
 ALBARADO MEDINA, ROGELIO
 MEDINA DIAZ-BARRIGA, AND
 MARCELINO MARTINEZ-CRUZ,

              Defendants.



      Trial is currently set in this case for all Defendants, except Marcelino

Martinez-Cruz on October 27, 2008. Defendant Marcelino Martinez-Cruz was

recently arraigned and trial set on November 24, 2008. Therefore, the present trial

dates of October 27, 2008 and November 24, 2008 shall be vacated and reset for all

other defendants on January 5, 2009.

      Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7), excludable time exists

for “a reasonable period of delay when the defendant is joined for trial with a

codefendant as to whom the time for trial has not run and no motion for severance

has been granted.” The Court finds that the time between October 27, 2008 and


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November 24, 2008 until January 5, 2009, is a reasonable period of time under §

3161(h)(7), and therefore sets all defendants for trial on January 5, 2009 at 1:30

p.m, in Boise, Idaho. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED, that the prior trial settings

of October 27, 2008 and November 23, 2008 are vacated for all defendants, and

that the new trial date for all defendants shall be January 5, 2009 at 1:30 p.m. in

the James A. McClure Federal Building and U.S. Courthouse in Boise, Idaho. The

Court finds the period from the prior trial setting to the new trial setting to be

excludable time as explained above.

      Additionally, a telephonic pretrial conference shall be scheduled in this

matter on December 17, 2008 at 4:00 p.m. The Government shall place the call

with all opposing counsel on the line to (208) 334-9145.

      IT IS FURTHER ORDERED, that all pretrial motions be filed on or before

December 5, 2008.

                                         DATED: October 20, 2008



                                         B. LYNN WINMILL
                                         Chief Judge
                                         United States District Court




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